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                                                      U.S. Department of Justice
                                                      United States Attorney
                                                      Southern District of New York


                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 38th Floor
                                                      New York, New York 10278




                                                    June 26, 2025
                                           The government's response is due July 30, 2025.
VIA ECF                                    SO ORDERED.
Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square                                       6/27/2025
New York, New York 10007

       Re:     United States v. Mark Scott, 17 Cr. 630 (ER)

Dear Judge Ramos:

       The Government respectfully submits this letter in response to the Court’s orders (Dkts.
676, 678) directing the Government to respond, by June 30, 2025, to Petitioner Lidia S.
Kolesnikova’s petition for determination of third-party interest in property subject to forfeiture in
the above-captioned case.

       The Government and Kolesnikova’s counsel are discussing a potential settlement of
Kolesnikova’s forfeiture claims, but those discussions are ongoing.       Accordingly, the
Government respectfully requests that the Court adjourn the deadline for the Government’s
response for approximately 30 days, until on or about July 30, 2025.


                                                      Respectfully submitted,

                                                      JAY CLAYTON
                                                      United States Attorney

                                               By:           /s/
                                                      Juliana N. Murray/ Kevin Mead
                                                      Assistant United States Attorneys
                                                      (212) 637-2314/2211

cc:    All Counsel of Record (by ECF)
